           Case 1:01-cv-12257-PBS Document 2916-2 Filed 07/25/06 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                     )
AVERAGE WHOLESALE PRICE                           )   MDL No. 1456
LITIGATION                                        )
                                                  )   CIVIL ACTION: 01-CV-12257-PBS
                                                  )
THIS DOCUMENT RELATES TO:                         )   Judge Patti B. Saris
                                                  )
                                                  )
State of Nevada v. American Home Products, et )
al., CA No. 02-CV-12086-PBS                       )
                                                  )
State of Montana v. Abbott Labs., Inc., et al. D. )
Mont. Cause No. CV-02-09-H-DWM                    )
                                                  )
                                                  )
                                                  )


                          [PROPOSED] STIPULATION AND ORDER

            IT IS HEREBY STIPULATED, by and between the undersigned, that Case management

Order No. 25 should be amended as follows:



Defendants’ Expert Reports on Liability           September 21, 2006

Motions for Summary Judgment                      September 21, 2006

Oppositions to Motions                            November 1, 2006

Replies                                           November 15, 2006

Sur-replies                                       November 22, 2006

Hearing                                           To Be Determined




001534-13 120509 V1
           Case 1:01-cv-12257-PBS Document 2916-2 Filed 07/25/06 Page 2 of 3



HAGENS BERMAN SOBOL SHAPIRO LLP                  HOGAN & HARTSON, LLP


/s/ Jeniphr Breckenridge   __________            /s/ Steven M. Edwards
Steve W. Berman                                  Steven M. Edwards
Jeniphr Breckenridge                             Hogan & Hartson, LLP
Hagens Berman Sobol Shapiro LLP                  875 Third Ave., Suite 2600
1301 Fifth Avenue, Suite 2900                    New York, NY 10022
Seattle, WA 98101                                Telephone: (212) 918-3000
Telephone: (206) 623-7292                        Facsimile: (212) 918-3100
Facsimile: (206) 623-0594
                                                 On behalf of Defendant Bristol-Myers Squibb

Thomas M. Sobol (BBO#471770)
Hagens Berman Sobol Shapiro LLP
One Main Street, 4th Floor
Cambridge, MA 02142
Telephone: (617) 482-3700
Facsimile: (617) 482-3003

On behalf of the State of Nevada and the State
of Montana


    Dated: July ___, 2006



    SO ORDERED: ____________________________________
                United States District Judge




001534-13 120509 V1
           Case 1:01-cv-12257-PBS Document 2916-2 Filed 07/25/06 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of
the foregoing [PROPOSED] STIPULATION AND ORDER, to be delivered to all counsel of
record by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by
sending on July 25, 2006, a copy to LexisNexis File & Serve for Posting and notification to all
parties.


                                             By        /s/ Steve W. Berman
                                               Steve W. Berman
                                               HAGENS BERMAN SOBOL SHAPIRO LLP
                                               1301 Fifth Avenue, Suite 2900
                                               Seattle, WA 98101
                                               (206) 623-7292




001534-13 120509 V1
